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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                 PLAINTIFF

VS.                             NO. 4:15-CR-243-2-DPM

CHAD MORGAN CROCKETT                                                   DEFENDANT

                                       ORDER

      Defendant Chad Morgan Crockett has filed an unopposed motion to continue the

bond revocation hearing scheduled for November 10, 2016, due to recent surgery. For

good cause shown, the motion is GRANTED. The bond revocation hearing is

rescheduled for December 1, 2016, at 10:00 a.m.

      DATED this 8th day of November, 2016.



                                       UNITED STATES MAGISTRATE JUDGE
